
		
				IN RE REVISION OF PORTION OF THE RULES OF THE COURT OF CRIMINAL APPEALS2023 OK CR 17Case Number: CCAD-2023-2Decided: 11/08/2023IN RE REVISION OF PORTION OF THE RULES OF THE COURT OF CRIMINAL APPEALS

Cite as: 2023 OK CR 17, __  __

				

ORDER ADOPTING NEW FORMS
¶1 Pursuant to revisions made to Section 983 of Title 22 of the Oklahoma Statutes, we find that new forms should be adopted. Revision of the Rules of the Oklahoma Court of Criminal Appeals by the creation of new Forms 13.17a, 13.17b, 13.17c, 13.17d, 13.17e, 13.17f, and 13.17g is necessary. Therefore, pursuant to the provisions of Section 1051(B) of Title 22 of the Oklahoma Statutes, we promulgate the following new Forms as portions of the Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch.18, App. (2023), as follows:
&nbsp;
Form 13.17a Affidavit Regarding Ability to Pay
IN THE DISTRICT COURT OF ___________ COUNTY
STATE OF OKLAHOMA





STATE OF OKLAHOMA,Plaintiff,
v.
___________________________,Defendant.


)))))))

Case Nos.:
__________________
__________________
__________________
__________________
__________________
__________________

&nbsp;
AFFIDAVIT REGARDING ABILITY TO PAY
[This affidavit and any supporting documents shall not be visible on a court-controlled website. 22 O.S. § 983(I).If you need additional space on any questions, please use page 5 or attach additional pages.]
GOVERNMENT BENEFITS
Do you receive (circle all that apply):
SNAP (food stamps) 




WIC

TANF

SSI

SSDI




Tribal Disability

Veterans Disability

Section 8 (Housing Choice Voucher)
&nbsp;
Other housing assistance (be specific): ______________________________________________________________________
Other federal need-based support (be specific): _______________________________________________________________
Proof is attached for the following programs: __________________________________________________________________
INCOME
Do not list any disability or other government benefits listed above.
Number of adults in household: ____ Number of children that you support: ___



&nbsp;

Defendant

Adult 2

Adult 3

Adult 4


Relationship to you:(spouse, parent, etc.)

Yourself

_______________

_______________

_______________


Income Amount:

_______________

_______________

_______________

_______________


Income source:
(employment, gift, etc.)

_______________

_______________

_______________

_______________


How often? (week/month)

_______________

_______________

_______________

_______________


Do you support this person?

Yes

_______________

_______________

_______________
If you support adults in your household, explain why you must support them:
______________________________________________________________________________
Are you currently employed? Yes / No How long employed/unemployed? _____________
Highest Grade/Degree completed: _____________
In the past ten (10) years, what was your longest term of employment? (employer/job title/how long)
______________________________________________________________________________
Are you currently still doing that type of work? Yes / No
If no, describe any barriers preventing you from going back to that type of work:
______________________________________________________________________________
Do you have any physical or mental health conditions that make it difficult for you to work or manage your money? If yes, describe:
______________________________________________________________________________
______________________________________________________________________________
List any other reasons you would like the judge to know about why it is difficult for you to earn enough income to pay your fines/fees off:
______________________________________________________________________________
______________________________________________________________________________
EXPENSES
List your expenses. The Court may ask you to provide proof of these expenses, so bring proof with you to your cost hearing.




Expense:

Amount:

Last time late (or amount behind):

Expense:

Amount:

Last time late (or amount behind):


Rent/Mortgage

__________

_______________

_______________

__________

_______________


Utilities (Water/Phone/Power)

__________

_______________

_______________

__________

_______________


Car payment

__________

_______________

_______________

__________

_______________


Insurance

__________

_______________

_______________

__________

_______________


Child care/expenses

__________

_______________

_______________

__________

_______________


Medical Bills Insurance/Prescriptions

__________

_______________

_______________

__________

_______________
List any additional expenses:
_____________________________________________________________________________
_____________________________________________________________________________
Do you pay child support? Yes / No If so, how much per month? ________
Are you behind on child support? Yes / No If so, how much? ______
Do you have to pay any other expenses on these cases (restitution, DA fees, probation fees, drug test fees)? If yes, please describe.
_____________________________________________________________________________
_____________________________________________________________________________
When was the last time you had difficulty paying for food? What did you do?
_____________________________________________________________________________
_____________________________________________________________________________
When was the last time you had difficulty paying for housing? What did you do?
_____________________________________________________________________________
_____________________________________________________________________________
ASSETS
Do you own the following:
Your Home: Yes / No





Investments (stocks/bonds): Yes / No
Other land/homes: Yes / No
More than one vehicle: Yes / No
(Car, truck, motorcycle,
Boat, ATV, etc.)
&nbsp;
The land your home is on: Yes / No
Vehicle: Yes / No (With Loan Yes / No)
Bank Accounts: Yes/No Value: ______
_
If you answered "Yes" to any of the answers in the box above, please describe this property:
______________________________________________________________________________
______________________________________________________________________________
List any additional expenses:
_____________________________________________________________________________
_____________________________________________________________________________
When was the last time you had to sell or pawn something to pay for an expense? Describe what happened.
______________________________________________________________________________
______________________________________________________________________________
OTHER INFORMATION
Is there a definite date when your financial situation will improve or worsen? (For example, you will start working on X date, your disability payments will start on X date, or you will lose your housing on X date.) If yes, please describe.
______________________________________________________________________________
______________________________________________________________________________
If someone can verify your financial situation, please attach a letter from that person. For example, a case manager at a shelter, a clergy member who provides you with assistance, etc.
I declare under penalty of perjury under the laws of Oklahoma that the foregoing is true and correct to the best of my knowledge and belief.
Date:_____________________ Respectfully submitted, 





Respectfully submitted, 
____________________________________Signature
____________________________________Name
____________________________________
____________________________________Address
____________________________________Phone
&nbsp;
Additional information:
[ ] Attached ____________________________________
[ ] Not Attached Phone
ADDITIONAL INFORMATION
Use this page if you need additional space to respond to any question. Attach additional pages if needed. Please indicate which section you are responding to (e.g. Benefits, Income, Expenses, Assets, Other).
______________________________________________________________________________
______________________________________________________________________________
&nbsp;
Form 13.17b Summons for Court Financial Obligations (District)
IN THE DISTRICT COURT OF ___________ COUNTY
STATE OF OKLAHOMA





STATE OF OKLAHOMA,Plaintiff,
v.
___________________________,Defendant.


)))))))

Case Nos.:
__________________
__________________
__________________
__________________
__________________
__________________

&nbsp;
&nbsp;
SUMMONS FOR COURT FINANCIAL OBLIGATIONS





To: _______________________ (Name)__________________________ 
__________________________ (Address)

[ ] Delivered in Person
[ ] Delivered by Mail
&nbsp;
&nbsp;
Hearing Date and Time: ______________________
Judge: ______________________
Courtroom: ______________________
Court Address: ______________________
Court Clerk Phone: ______________________
You are ORDERED to appear for a COST HEARING at the above specified time, place, and date to determine if you are financially able to pay the fines, costs, fees, or assessments or an installment due in the above cases.
YOU MUST BE PRESENT AT THE HEARING.
At any time before the date of the cost hearing, you may contact the court clerk and pay the amount due or request in writing or in person prior to the court date, that the hearing be rescheduled for up to thirty (30) days after the scheduled time.
THIS IS NOT AN ARREST WARRANT. However, if you fail to appear for the cost hearing or fail to pay the amount due, the court will issue a WARRANT and refer the case to a court cost compliance liaison which will cause an additional administrative fee of up to thirty percent (30%) to be added to the amount owed and may include additional costs imposed by the court.
Issued this _______ day of ______________, 20___.





[Clerk Signature and Seal Block,automated, similar to Jury Summons.]
&nbsp;
You may consult with counsel prior to your hearing, and you may have counsel present at your hearing.
&nbsp;
&nbsp;
Form 13.17c Summons for Court Financial Obligations (Municipal)
IN THE MUNICIPAL COURT OF THE CITY/TOWN OF ___________
STATE OF OKLAHOMA





THE CITY/TOWN OF_________________Plaintiff,
v.
___________________________,Defendant.


)))))))

Case Nos.:
__________________
__________________
__________________
__________________
__________________

&nbsp;
SUMMONS FOR COURT FINANCIAL OBLIGATIONS




To: _______________________ (Name)__________________________ 
__________________________ (Address)

[ ] Delivered in Person
[ ] Delivered by Mail
&nbsp;
Hearing Date and Time: ______________________
Judge: ______________________
Courtroom: ______________________
Court Address: ______________________
Court Clerk Phone: ______________________
&nbsp;
You are ORDERED to appear for a COST HEARING at the above specified time, place, and date to determine if you are financially able to pay the fines, costs, fees, or assessments or an installment due in the above cases.
YOU MUST BE PRESENT AT THE HEARING.
At any time before the date of the cost hearing, you may contact the court clerk and pay the amount due or request in writing or in person prior to the court date, that the hearing be rescheduled for up to thirty (30) days after the scheduled time.
THIS IS NOT AN ARREST WARRANT. However, if you fail to appear for the cost hearing or fail to pay the amount due, the court will issue a WARRANT and refer the case to a court cost compliance liaison which will cause an additional administrative fee of up to thirty-five percent (35%) to be added to the amount owed and may include additional costs imposed by the court.
Issued this _______ day of ______________, 20___.





[Clerk Signature and Seal Block,automated, similar to Jury Summons.]
You may consult with counsel prior to your hearing, and you may have counsel present at your hearing.
&nbsp;
&nbsp;
Form 13.17d Cost Arrest Warrant (District)
IN THE DISTRICT COURT OF ___________ COUNTY
STATE OF OKLAHOMA





STATE OF OKLAHOMA,Plaintiff,
v.
___________________________,Defendant.


)))))))

Case Nos.:
__________________
__________________
__________________
__________________
__________________
__________________

COST ARREST WARRANT
THE STATE OF OKLAHOMA TO LAW ENFORCEMENT OFFICER WITHIN THE STATE OF OKLAHOMA:
You are COMMANDED to arrest:
Defendant: ________________________ SSN: XXX-XX-_____ Sex: _____ Hair: ____
Address: ________________________ DOB: __/__/_____ Eyes: _____ Weight: ____
________________________ Height: ____
and bring him/her before the Court or if the court is adjourned or is not in session, that you retain him/her in your custody or deliver him/her to the lawful custodiam of inmates of the ___________ County Jail subject to further order of the Court.
ATTENTION BOOKING DEPARTMENT:
The Defendant may also be released upon payment of One Hundred Dollars ($100) remitted to the Court Clerk of _______ County towards his/her Court Financial Obligations and obtaining a new cost hearing date from said Clerk.
The Defendant is entitled to a cost hearing or willfulness hearing before the Court within seventy-two (72) hours of arrest. If the Defendant remains in your custody after seventy-two (72) hours from the time of arrest without appearance before the Court for a cost hearing or willfulness hearing, you are directed to contact the ________ County Court Clerk to obtain a cost hearing date for the Defendant, provide the Defendant with this information, and release the Defendant on his/her own recognizance.
Given under my hand this _____ day of _________, 20___.





By Order of the Court:
The Clerk shall refer this case to the cost compliance program.
By: _________________________ 
Judge of the District Court

&nbsp;
OFFICER'S RETURN OF SERVICE
Received this ___ day of ___________, 20__, at ____ o'clock ___.M. and served the same by taking the above named person into custody on the _______ day of ______________________, 20____, and delivering the person to the judge named.




Serving Warrant:$_______Copy: $_______
Mileage: $_______
(_______ Miles @ ____ per mile)
Total: $_______

____________________________, Sheriff
____________________________, County, Oklahoma
By: __________________, Deputy

&nbsp;
WARRANT NUMBER: 
&nbsp;
&nbsp;
Form 13.17e Cost Arrest Warrant (Municipal)
IN THE MUNICIPAL COURT OF THE CITY/TOWN OF ___________
STATE OF OKLAHOMA





THE CITY/TOWN OF_________________Plaintiff,
v.
___________________________,Defendant.


)))))))

Case Nos.:
__________________
__________________
__________________
__________________
__________________

&nbsp;
COST ARREST WARRANT
[This warrant may be served at any place within the State of Oklahoma. 11 O.S. § 27-113.]
THE CITY/TOWN OF ______________ TO ANY LAW ENFORCEMENT OFFICER WITHIN THE STATE OF OKLAHOMA:
You are COMMANDED to arrest:
Defendant: ________________________ SSN: XXX-XX-_____ Sex: _____ Hair: ____
Address: ________________________ DOB: __/__/_____ Eyes: _____ Weight: ____
________________________ Height: ____
and bring him/her before the Court or if the court is adjourned or is not in session, that you retain him/her in your custody or deliver him/her to the lawful custodiam of inmates of the _______________ Jail subject to further order of the Court.
ATTENTION BOOKING DEPARTMENT:
The Defendant may be released upon payment of One Hundred Dollars ($100) remitted to the Court Clerk of the City/Town of ___________ towards his/her Court Financial Obligations and obtaining a new cost hearing date from said Clerk.
The Defendant is entitled to a cost hearing or willfulness hearing before the Court within seventy-two (72) hours of arrest. If the Defendant remains in your custody after seventy-two (72) hours from the time of arrest without appearance before the Court for a cost hearing or willfulness hearing, you are directed to contact the Court Clerk of the City/Town of __________ to obtain a cost hearing date for the Defendant, provide the Defendant with this information, and release the Defendant on his/her own recognizance.
Given under my hand this _____ day of _________, 20___.





By Order of the Court:
The Clerk shall refer this case to the cost compliance program.
By: _________________________ 
Judge of the Municipal Court
&nbsp;
OFFICER'S RETURN OF SERVICE
Received this ___ day of ___________, 20__, at ____ o'clock ___.M. and served the same by taking the above named person into custody on the _______ day of ______________________, 20____, and delivering the person to the judge named.




Serving Warrant:$_______Copy: $_______
Mileage: $_______
(_______ Miles @ ____ per mile)
Total: $_______

____________________________, Sheriff
____________________________, County, Oklahoma
By: __________________, Deputy

&nbsp;
WARRANT NUMBER: 
&nbsp;
&nbsp;
Form 13.17f Cost Cite and Release Warrant (District)
IN THE DISTRICT COURT OF ___________ COUNTY
STATE OF OKLAHOMA





STATE OF OKLAHOMA,Plaintiff,
v.
___________________________,Defendant.

)))))))

Case Nos.:
__________________
__________________
__________________
__________________
__________________

&nbsp;
COST CITE AND RELEASE WARRANT
[No fees shall accrue to Defendant due to the issuance or service of this warrant. 22 O.S. § 983(C)(4)]
TO ANY LAW ENFORCEMENT OFFICER WITHIN THE STATE OF OKLAHOMA:
Upon encountering:
Defendant: ________________________ SSN: XXX-XX-_____ Sex: _____ Hair: ____
Address: ________________________ DOB: __/__/_____ Eyes: _____ Weight: ____
________________________ Height: ____
You are COMMANDED to issue to the Defendant a Warning/Notice to have Defendant appear before the Court Clerk of _____________ County for the purposes of setting cost hearing within ten (10) days of the issuance of the Warning/Notice. You SHALL NOT ARREST the Defendant based on this warrant. However, this does not prevent you from arresting the Defendant based on another warrant, or upon probable cause. If you arrest the Defendant based on another warrant or upon probable cause, the Warning/Notice shall provide ten (10) days to report to the Court Clerk of __________ County upon Defendant's release from custody.
If the Defendant shows you proof of another Warning/Notice issued for this warrant in the previous ten (10) days, you SHALL NOT issue an additional Warning/Notice.
Given under my hand this _____ day of _________, 20___.





By Order of the Court:
The Clerk shall refer this case to the cost compliance program.
By: _________________________ 
Judge of the District Court

&nbsp;
OFFICER'S RETURN OF SERVICE
[If the Officer electronically transmits to the relevant Court Clerk a Warning/Notice issued based on the above warrant, the Officer is excused from completing this return of service.]
On the ____ day of ____________, 20___, I issued a Warning/Notice to the above-named Defendant, directing him/her to report to the Court Clerk of _________ County within ten (10) days. A copy of the Warning/Notice is attached. I returned this warrant and warning/notice to the appropriate person within my agency on the ____ day of _________, 20___, for transmission to the appropriate Court Clerk. [within 5 days]





____________________________, Law Enforcement Agency
By: __________________, Law Enforcement Officer

&nbsp;
WARRANT NUMBER: 
&nbsp;
&nbsp;
Form 13.17g Cost Cite and Release Warrant (Municipal)
IN THE MUNICIPAL COURT OF THE CITY OF ___________
STATE OF OKLAHOMA





THE CITY/TOWN OF_________________Plaintiff,
v.
___________________________,Defendant.


)))))))

Case Nos.:
__________________
__________________
__________________
__________________
__________________

&nbsp;
COST CITE AND RELEASE WARRANT
[No fees shall accrue to Defendant due to the issuance or service of this warrant. 22 O.S. § 983(C)(4)]
TO ANY LAW ENFORCEMENT OFFICER WITHIN THE STATE OF OKLAHOMA:
Upon encountering:
Defendant: ________________________ SSN: XXX-XX-_____ Sex: _____ Hair: ____
Address: ________________________ DOB: __/__/_____ Eyes: _____ Weight: ____
________________________ Height: ____
You are COMMANDED to issue to the Defendant a Warning/Notice to have Defendant appear before the Court Clerk of the City/Town of ___________ for the purposes of setting cost hearing within ten (10) days of the issuance of the Warning/Notice. You SHALL NOT ARREST the Defendant based on this warrant. However, this does not prevent you from arresting the Defendant based on another warrant, or upon probable cause. If you arrest the Defendant based on another warrant or upon probable cause, the Warning/Notice shall provide ten (10) days to report to the Court Clerk of the City/Town of ___________ upon Defendant's release from custody.
If the Defendant shows you proof of another Warning/Notice issued for this warrant in the previous ten (10) days, you SHALL NOT issue an additional Warning/Notice.
Given under my hand this _____ day of _________, 20___.





By Order of the Court:
Optional: [ ] Refer to cost compliance program.
By: _________________________ 
Judge of the Municipal Court
&nbsp;
OFFICER'S RETURN OF SERVICE
[If the Officer electronically transmits to the relevant Court Clerk a Warning/Notice issued based on the above warrant, the Officer is excused from completing this return of service.]
On the ____ day of ____________, 20___, I issued a Warning/Notice to the above-named Defendant, directing him/her to report to the Court Clerk of the City/Town of ______________ within ten (10) days. A copy of the Warning/Notice is attached. I returned this warrant and warning/notice to the appropriate person within my agency on the ____ day of _________, 20___, for transmission to the appropriate Court Clerk. [within 5 days]





____________________________, Law Enforcement Agency
By: __________________, Law Enforcement Officer
WARRANT NUMBER: 
&nbsp;
¶2 IT IS SO ORDERED.
¶3 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 8th day of November, 2023.
&nbsp;
/S/SCOTT ROWLAND, Presiding Judge
/S/ROBERT L. HUDSON, Vice Presiding Judge
/S/GARY L. LUMPKIN, Judge
/S/DAVID B. LEWIS, Judge
/S/WILLIAM J. MUSSEMAN, Judge
ATTEST:
/s/John D. Hadden
Clerk




